                               In the
                          Court of Appeals
                  Second Appellate District of Texas
                           at Fort Worth
                                No. 02-24-00120-CR

JOSE NORBERTO GONZALEZ,                   §   On Appeal from the 30th District Court
Appellant
                                          §   of Wichita County (DC30-CR2023-1055)

                                          §   August 22, 2024
V.
                                          §   Memorandum Opinion by Justice Kerr

THE STATE OF TEXAS                        §   (nfp)

                                   JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s order. It is ordered that the trial court’s order is

affirmed.


                                      SECOND DISTRICT COURT OF APPEALS


                                      By _/s/ Elizabeth Kerr__________________
                                         Justice Elizabeth Kerr
